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LARRY PAUL BERGOLD, JR.
Danny R. Ellisl CJA
Defense Attorney
1289 North Highland Avenue
Jackson, TN 38301

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Commltted On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the indictment on February 22, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Title & section MM M M(§l
21 U.S.C. § 846 Conspiracy to Distribute 05/18/2004 1
Methamphetamine
21 U.S.C. § 841(a)(1); Distribution of Nlethamphetamine; 05)'18/2004 2
18 U.S.C. § 2 Aiding and Abetting

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:

Defendant’s Date of Birth: 01/08/1974 Nlay 20, 2005
Deft’s U.S. Nlarshal No.: 32689-177

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Case No: 1:04cr10074-01-T Defendant Name: Larry Paul Bergold, Jr. Page 2 of 6

Defendant’s Mai|ing Address:
(No specific address provided)
JACKSON, TN

OQ/MZB.M

JA S D. TODD
C F UN|TED STATES DlSTR|CT JUDGE

Nlay £Q , 2005

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lMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 84 Months as to each of Counts 1 and 2, to run
concurrent|y.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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SUPERVISED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 4 years as to each of Counts 1 and 2, to run concurrently.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute. or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used.
distributed. or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation omcer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shail notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for
substance abuse as directed by the Probation Office.

2. The defendant shall cooperate in the collection of DNA as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penaities in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Tota| Assessment Tota| Fine Tota| Restitution
$200.00

The Specia| Assessment shall be due immediately.

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F|NE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

 

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DISTRIC COURT - WESERNT D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 1:04-CR-10074 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Danny R. Ellis

MUELLER & ELLIS, PLC
1289 N. Highland Ave.
P.O. Box 3512

Jackson7 TN 38303--351

Honorable J ames Todd
US DISTRICT COURT

